QAO245B        (Rcv. 12103) Judgmcnt in a Criminal Casc
   NCED        Shcct I




                          Eastern                                    District of                            North Carolina
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                 v.
              KATHRYN L. COLLINS                                           Case Number: 7:05-M-203
                                                                           USM Number:
                                                                           A. GRIFFIN ANDERSON
                                                                           Defendant's A ttomev
THE DEFENDANT:
6pleaded guilty to count(s)           1
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                               Offense Ended       Count
1 8 U S C § 1 3 , NCGS20-138.1                    LEVEL 3 - DRIVING WHILE IMPAIRED                                812112005          1




       The defendant is sentenced as provided in pages 2 through                   5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
+~!I
   ount(s)      2, 3                                         is         are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attomey for this disttjct within 30 da s of any change of name, resjdence,
or mailing address unt~lall fines, restaut~on,,costs,and specla1 assessments Imposed by t h ~judgment
                                                                                              s          are fuZy paid. If ordered to pay rest~tut~on,
the defendant must notify the court and Un~tedStates attorney of materlal changes In economlc circumstances.

 Sentencing Location:                                                      1I2412007
   WILMINGTON, NC                                                          Date of Imposition of Judgment
                                                                                                                      C




                                                                           Signature of Judge                             /




                                                                            E. S. SWEARINGEN, U. S. MAGISTRATE JUDGE
                                                                           Name and Title of Judge




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A 0 2458    (Rev 12/03) Judnment In a Crlm~nalCase
     NCED   Sheet 4--~robatl;n

                                                                                                         Judgment-Page      7     of         5
DEFENDANT: KATHRYN L. COLLINS
C A S E NUMBER: 7:05-~-203
                                                               PROBATION
The defendant is hereby sentenced to probation for a term o f :
  12 MONTHS
The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at Last two periodic drug tests
thereafter, as determined by the court.
17 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
1.     The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
       officer.
2.     The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
       complete written report within the first five (5) days of each month.
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.     The defendant shall support the defendant's dependents and meet other family responsibilities.
5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
       acceptable reasons.
6.     The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess use distrjbute, or administer any controlled
       substance, or any paraphernalia related to any controlled substance, except as prescribed by a phys~c~an.
8.     The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
       places specified by the court.
9.     The defendant shall not associate with any persons en aged in criminal activity, and shall not associate with any person convicted of
       a felony unless granted permission to do so by the pro%ation officer.
10. The defendant shall permit a robation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in Pyain view by the probation officer.
1 1 . The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
      officer.
12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court.
13. As directed by the probation officer, the defendant shall notif third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or cha~acte~istics,
                                                          and shah permit the probation officer to make such notifications and to confirm
    the defendant's compliance with such notificat~onrequirement.




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A 0 2458   (Rev. 12/03) Judgmcnl in a Criminal Case
  NCEo     Shcct 4A -- Probation
                                                                                           Judgment-Page    3     of         5
DEFENDANT: KATHRYN L. COLLINS
CASE NUMBER: 7105-M-203

                                               ADDITIONAL PROBATION TERMS
 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall perform 72 hours of community service during probation as directed by the probation office and if
 referred for placement and monitoring by the State of North Carolina, pay the required $200.00 fee.

 It is further ordered that the defendant shall participate in any other Alcohol/Drug Rehabilitation and Education program as
 directed by the U.S. Probation Office.

 The defendant shall obtain a substance abuse assessment from an appropriate mental health facility within thirty (30) days
 from the date of this judgment and complete any prescribed treatment program. The defendant must pay the assessment
 fee and any added treatment fees that may be charged by the facility.




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A 0 2458   (Rev. 12/03), Judemcnt
                            "     in a Criminal Case
  NCED     Shcct 5 Criminal Monetary Penalties
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                                                                                                   Judgment-   Page      4     of        5
 DEFENDANT: KATHRYN L. COLLINS
 CASE NUMBER: 7335-M-203
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                      Fine                                Restitution
TOTALS             $ 10.00                                           $400.00                           $



 1
 3   The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the prlorlty order or percmtage payment column%low. However, pursuant to 18 Qs.8. 4 3664fi, all nonfederal vlctlms must be paid
     before the Unlted States IS pald.

Name of Payee                                                          Total*              Restitution Ordered        Priority or Percentage




                                  TOTALS                                           $0.00                    $0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 4 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the         fine        restitution.
           the interest requirement for the            fine     restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 1 IOA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before Apnl23, 199%.



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A 0 245B
    NCED
                           -
           (Rcv. 12/03). Judemcnt in a Criminal Case
           S h c ~6t -- Schedule o f Paymcnts

                                                                                                        Judgment - Page      5     of        5
DEFENDANT: KATHRYN L. COLLINS
CASE NUMBER: 7:05-M-203

                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      @f Lump sum payment of $             41 0.00          due immediately, balance due

                 not later than                                  , or
           1
           7     in accordance                 C,       D,        E, or         F below; or

B          Payment to begin immediately (may be combined with              C,           D, or       F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has express1 ordered otherwise, ifthis j u d y n t imposes i m p k m n e n t , a ment of criminal monetary penalties is due du+
imprisonment. All criminarmoneta penalties, except t ose payments made througR &e Federal Bureau of Prisons' Inmate ~ i n a n c l e
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                        1
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) rest/tution interest, (4) fine principal,
(5) fine ~nterest,(6) commun~tyrestitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.



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